Case 3:21-cv-00022-CAR Document 1-7 Filed 03/10/21 Page 1 of 6




                Exhibit 7
Case 3:21-cv-00022-CAR Document 1-7 Filed 03/10/21 Page 2 of 6
Case 3:21-cv-00022-CAR Document 1-7 Filed 03/10/21 Page 3 of 6
Case 3:21-cv-00022-CAR Document 1-7 Filed 03/10/21 Page 4 of 6
Case 3:21-cv-00022-CAR Document 1-7 Filed 03/10/21 Page 5 of 6
Case 3:21-cv-00022-CAR Document 1-7 Filed 03/10/21 Page 6 of 6
